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CONFIDENTIAL Weekly Report: Hearing over 48 hours or not present from Sep 29, 2018 to Oct 07, 2018.
 

                                                      PC
                                                                          Not
    Defendant                             Arrest      Docket                                               Arresting
                 CaseNbr        CourtID                           Present Present          DefendantSPN
    Name                                  Date        Setting                                              Agency
                                                                          Reason
                                                      Date
                                                                                                           HOUSTON
    IERROBINO,                            9/27/2018   9/29/2018           Removed
                 222650601010         6                           No                             2046203   POLICE
    ROSSANO                                   15:57        7:00           Disruptive
                                                                                                           DEPARTMENT
                                                                                                           BELLAIRE
    PURVIS,                               9/28/2018   9/29/2018           Removed
                 222662701010        10                           No                              337596   POLICE
    LEWIS                                     16:46        7:00           disruptive
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
    CAIN,                                 9/27/2018   9/29/2018
                 222655001010        11                           No      Comb/Disr              2965181   POLICE
    STANLEY                                   21:29       10:00
                                                                                                           DEPARTMENT
                                                                                                           HOUSTON
    CAIN,                                 9/27/2018   9/29/2018
                 222655101010        11                           No      Comb/Disr              2965181   POLICE
    STANLEY                                   21:29       10:00
                                                                                                           DEPARTMENT
    BURLESON,                                                                                              HOUSTON
                                          9/28/2018   9/29/2018           Medical-
    SHARETTA     217739601010         3                           No                             1914422   POLICE
                                               7:15       13:00           condition
    LYNN                                                                                                   DEPARTMENT
    GOTCHER,                              9/29/2018   9/29/2018                                            CONSTABLE
                 215684001010         8                           No      Comb/Disr              2909278
    KACEY LAN                                  4:00       13:00                                            PCT 6
                                                                          Mental-illness
                                                                                                           HOUSTON
    CHARLENE,                             9/28/2018   9/29/2018           or
                 222664601010        14                           No                             2965342   POLICE
    KARSHALYN                                 15:03       18:00           Intellectual-
                                                                                                           DEPARTMENT
                                                                          disability
                                                                          Mental-illness
                                                                                                           HOUSTON
    CHARLENE,                             9/28/2018   9/29/2018           or
                 222664701010        14                           No                             2965342   POLICE
    KARSHALYN                                 15:03       18:00           Intellectual-
                                                                                                           DEPARTMENT
                                                                          disability
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                                                                  per HCSO                   SHERIFFS
CORTOPASSI,
                                     9/29/2018   9/29/2018        Defendant                  DEPARTMENT
ROBERTA       222664801010      15                           No                    2613144
                                         12:00       18:00        was                        HARRIS
ZEVONIE
                                                                  combative                  COUNTY
                                                                                             HOUSTON
BANKS,                               9/29/2018   9/29/2018        Medical-
              222675501010      10                           No                    2615666   POLICE
CRISTIE                                   9:15       23:00        condition
                                                                                             DEPARTMENT
RIGGS,                                                                                       HOUSTON
                                     9/28/2018   9/29/2018        Medical-
GRACEY        217335401010       8                           No                    1718036   POLICE
                                         18:13       23:00        condition
DELUNA                                                                                       DEPARTMENT
                                                                                             SHERIFFS
BARRETT,
                                     9/29/2018   9/30/2018        Medical-                   DEPARTMENT
DONALD        222678501010      11                           No                    2031187
                                         18:24        7:00        condition                  HARRIS
SHADRACK
                                                                                             COUNTY
                                                                                             PASADENA
BRANDON,                             9/29/2018   9/30/2018        Medical-
              222679001010      15                           No                    2831012   POLICE
ASHLEY                                   14:20       13:00        condition
                                                                                             DEPARTMENT
                                                                  Mental-illness
BROWN,                                                                                       HOUSTON
                                     9/29/2018   9/30/2018        or
BARBARA       222676001010      15                           No                    1615941   POLICE
                                         11:50       13:00        Intellectual-
KAY                                                                                          DEPARTMENT
                                                                  disability
                                                                                             HOUSTON
LAWTON,                              9/29/2018   9/30/2018        Medical-
              222678101010       6                           No                    1756612   POLICE
TRACY                                    15:23       16:00        condition
                                                                                             DEPARTMENT
                                                                                             HOUSTON
SMITH,                               9/30/2018   9/30/2018        Medical-
              216060001010      14                           No                    1742163   POLICE
MONIQUE                                   3:53       16:00        condition
                                                                                             DEPARTMENT
SMITH,                                                                                       METRO P. D.
                                     9/30/2018   9/30/2018        Medical-
MONIQUE       214918401010      14                           No                    1742163   CITY OF
                                          3:53       16:00        condition
ELAINE                                                                                       HOUSTON
                                                                                             HOUSTON
ALVAREZ,                             9/29/2018   9/30/2018        Medical-
              222679601010       5                           No                    2154553   POLICE
JOE                                      15:40       20:00        condition
                                                                                             DEPARTMENT
KELLER,                              9/29/2018   9/30/2018        Medical-                   CONSTABLE
              222588701010      11                           No                    805295
DOUGLAS                                  16:54       20:00        condition                  PCT 6
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KELLER,                             9/29/2018   9/30/2018        Medical-                   CONSTABLE
             222588801010      11                           No                    805295
DOUGLAS                                 16:54       20:00        condition                  PCT 6
CLARK,
                                    9/29/2018   9/30/2018        Medical-                   HARRIS
TREVOR       220868601010      10                           No                    2446997
                                        22:39       23:00        condition                  COUNTY D. A.
ROBERT
                                                                 per HCSO
GUTIERREZ,                          9/30/2018   10/1/2018        defendant was              CONSTABLE
             222695801010       4                           No                    1930618
RODRIGO                                 15:35        2:00        not                        PCT 4
                                                                 cooperative
HARRIS,                                                                                     HOUSTON
                                    9/29/2018   10/1/2018        per HCSO
LANEISHA     222693301010      13                           No                    2876747   POLICE
                                        22:20        7:00        combative
MONIQURE                                                                                    DEPARTMENT
HARRIS,                                                                                     HOUSTON
                                    9/29/2018   10/1/2018        per HCSO
LANEISHA     222693401010      13                           No                    2876747   POLICE
                                        22:20        7:00        combative
MONIQURE                                                                                    DEPARTMENT
                                                                 Mental-illness
BENCH,                                                                                      METRO P. D.
                                    9/30/2018   10/1/2018        or
THOMAS       222010201010       5                           No                    976805    CITY OF
                                        19:30       10:00        Intellectual-
JEROME                                                                                      HOUSTON
                                                                 disability
                                                                 Mental-illness
BRINKLEY,                                                                                   HOUSTON
                                    9/30/2018   10/1/2018        or
VALARIE      222698901010       6                           No                    1425066   POLICE
                                        21:34       16:00        Intellectual-
ELIZABETH                                                                                   DEPARTMENT
                                                                 disability
                                                                 Mental-illness
HATTER,                                                                                     HOUSTON
                                    9/30/2018   10/1/2018        or
ONTARIO      222697701010      10                           No                    2121606   POLICE
                                        16:59       18:00        Intellectual-
PIERRE                                                                                      DEPARTMENT
                                                                 disability
CARTER-                                                          Mental-illness
                                                                                            HOUSTON
COLLINS,                            9/30/2018   10/1/2018        or
             222702901010       8                           No                    2252400   POLICE
JAYSON                                  16:10       20:00        Intellectual-
                                                                                            DEPARTMENT
LANCE                                                            disability
                                                                                            SHERIFFS
GILLESPIE,
                                    10/1/2018   10/1/2018        Medical-                   DEPARTMENT
HUNTER       222707801010      12                           No                    1942425
                                        13:10       23:00        condition                  HARRIS
RYAN
                                                                                            COUNTY
GUDINO,                                                                                     JACINTO
                                    10/2/2018   10/2/2018        Medical-
CYNTHIA      222658801010       5                           No                    2965255   CITY POLICE
                                        14:58       23:00        condition
ANN                                                                                         DEPARTMENT
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                                                                                            HOUSTON
JOHNSON,                            10/1/2018   10/2/2018        Uncooperative
             222709601010      14                           No                    2674703   POLICE
QUENTIN                                  9:35       23:00        per hcso
                                                                                            DEPARTMENT
                                                                                            JACINTO
PEREZ,                              10/3/2018   10/2/2018        Medical-
             222659001010       5                           No                    1745651   CITY POLICE
LUISA                                   14:39       23:00        condition
                                                                                            DEPARTMENT
CASTRO,                             10/2/2018   10/3/2018        uncooperative              CONSTABLE
             222717501010      11                           No                    1992355
ROBERTO                                  7:33        2:00        in seg cell                PCT 6
                                                                                            HOUSTON
RIVERA,                             10/2/2018   10/3/2018
             222096601010       5                           No   Disruptive       1730232   POLICE
LEANDRO                                 19:02       13:00
                                                                                            DEPARTMENT
GUTIERREZ,                          10/3/2018   10/3/2018        Medical-                   CONSTABLE
             222359901010      11                           No                    1527371
FRANK                                    2:15       16:00        condition                  PCT 6
                                                                                            HOUSTON
ANTOINE,                            10/3/2018   10/4/2018        DISRUPTIVE
             222694901010      10                           No                    2166717   POLICE
PATRICK                                  5:08        7:00        PER HCSO
                                                                                            DEPARTMENT
BANKS,                                                                                      HOUSTON
                                    10/3/2018   10/4/2018        Medical-
SHANTERRI    216681501010      11                           No                    2487623   POLICE
                                         9:45       13:00        condition
RENEE                                                                                       DEPARTMENT
                                                                                            SHERIFFS
DESELLE,                            10/4/2018   10/4/2018        Medical-                   DEPARTMENT
             222737201010       4                           No                    1052927
DEBORAH                                  1:10       13:00        condition                  HARRIS
                                                                                            COUNTY
OTTS,                                                                                       PASADENA
                                    10/3/2018   10/4/2018        disputive per
RICHARD      222130801010       8                           No                    2610033   POLICE
                                        22:45       13:00        hcso
ANDREW                                                                                      DEPARTMENT
                                                                 Mental-illness
COTTON,                                                                                     HOUSTON
                                    10/4/2018   10/4/2018        or
WILLIAM      222742301010       4                           No                    1764710   POLICE
                                         0:49       18:00        Intellectual-
JAMES                                                                                       DEPARTMENT
                                                                 disability
OCAMPO                                                                                      HOUSTON
                                    10/4/2018   10/4/2018        Medical-
CONTRERAS,   222187501010      10                           No                    2960924   POLICE
                                         9:30       18:00        condition
HUMBERTO                                                                                    DEPARTMENT
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                                                                   Removed                    HOUSTON
DAVID,                               10/4/2018   10/5/2018
              221878101010       8                           No    from Ct,         2763069   POLICE
KYSION                                   16:00        7:00
                                                                   Disruptive                 DEPARTMENT
GREEN,                                                                                        HOUSTON
                                     10/4/2018   10/5/2018
CHARLES       222742101010       2                           No    Med/ MHU         2966101   POLICE
                                          1:36        7:00
FONTAYE                                                                                       DEPARTMENT
                                                                   Mental-illness             SHERIFFS
DEBERADI,                            10/4/2018   10/5/2018         or                         DEPARTMENT
              222751601010       3                           No                     2966200
DANTE                                    21:00       10:00         Intellectual-              HARRIS
                                                                   disability                 COUNTY
DOBBINS,                                                                                      HOUSTON
                                     10/4/2018   10/5/2018
ASHLEY        222750601010       4                           No    disruptive       2681935   POLICE
                                         15:34       13:00
PATRICIA                                                                                      DEPARTMENT
                                                                                              HOUSTON
BENSKIN,                             10/4/2018   10/5/2018
              222751701010       4                           No    combative        2755018   POLICE
LYDIA FAITH                              16:47       16:00
                                                                                              DEPARTMENT
                                                                                              HOUSTON
BENSKIN,                             10/4/2018   10/5/2018
              222751801010       7                           No    combative        2755018   POLICE
LYDIA FAITH                              16:47       16:00
                                                                                              DEPARTMENT
                                                                                              HOUSTON
WILCOX,                              10/4/2018   10/5/2018         Medical-
              222753401010       6                           No                     1547441   POLICE
KAREN LEE                                16:21       16:00         condition
                                                                                              DEPARTMENT
PORTILLO-
                                                                                              HOUSTON
SARAVIA,                             10/3/2018   10/5/2018
              222741601010      11                           Yes                    2966090   POLICE
JOSE                                     16:30       23:00
                                                                                              DEPARTMENT
BLADEMIR
                                                                                              HOUSTON
VENTURA,                             10/5/2018   10/5/2018         Medical-
              222514901010       7                           No                     2957195   POLICE
JULIO                                     8:40       23:00         condition
                                                                                              DEPARTMENT
SCOTT,                               10/5/2018   10/6/2018         Medical-                   CONSTABLE
              222761801010       5                           No                     2087329
BRANDI                                   11:45        2:00         condition                  PCT 4
CHAPPEL,                                                                                      HOUSTON
                                     10/5/2018   10/6/2018         refused to
ZACKERY       222764901010       8                           No                     2152837   POLICE
                                         22:30        7:00         come to Court
DALE                                                                                          DEPARTMENT
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                                                                                       HOUSTON
YOUNG,                             10/4/2018   10/6/2018
            222760001010       4                           Yes               1690417   POLICE
NICHOLAS                                0:56        7:00
                                                                                       DEPARTMENT
BALKEMAN,                          10/5/2018   10/6/2018         Medical-              CONSTABLE
            222767701010       3                           No                2955399
EMILY                                  20:00       13:00         condition             PCT 4
                                                                                       SHERIFFS
JONES,                             10/5/2018   10/6/2018                               DEPARTMENT
            222765901010      15                           No    combative   2544140
ROBERT                                 18:00       13:00                               HARRIS
                                                                                       COUNTY
                                                                                       HOUSTON
BROWN,                             10/5/2018   10/6/2018         Medical-
            222765001010       6                           No                2481543   POLICE
DARRELL                                 9:30       18:00         condition
                                                                                       DEPARTMENT
                                                                                       HOUSTON
BROWN,                             10/5/2018   10/6/2018         Medical-
            222765101010       6                           No                2481543   POLICE
DARRELL                                 9:30       18:00         condition
                                                                                       DEPARTMENT
GREEN,                                                                                 HOUSTON
                                   10/6/2018   10/6/2018         Medical-
PATRICIA    219996801010       7                           No                1734495   POLICE
                                       15:51       23:00         condition
ANN                                                                                    DEPARTMENT
CHANCE,                                                                                HOUSTON
                                   10/5/2018   10/7/2018         Medical-
BILLIE      222765301010       9                           No                2628034   POLICE
                                       12:11        2:00         condition
CLIFFORD                                                                               DEPARTMENT
CORONA,                                                                                BAYTOWN
                                   10/6/2018   10/7/2018
RAQUEL      222765701010      14                           No    Med/MHU     2966367   POLICE
                                        9:20        7:00
ESTELLA                                                                                DEPARTMENT
CORONA,                                                                                BAYTOWN
                                   10/6/2018   10/7/2018
RAQUEL      222765801010      14                           No    Med/MHU     2966367   POLICE
                                        9:20        7:00
ESTELLA                                                                                DEPARTMENT
                                                                                       HOUSTON
ANDREWS,                           10/6/2017   10/7/2018
            222778601010      12                           Yes               2276774   POLICE
RODNEY                                 10:07       13:00
                                                                                       DEPARTMENT
                                                                                       SHERIFFS
OSBORNE,                           10/7/2018   10/7/2018         Medical-              DEPARTMENT
            221639401010       2                           No                2654261
TRAVIS W                                8:20       13:00         condition             HARRIS
                                                                                       COUNTY
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                                                                                              SHERIFFS
    OSBORNE,
                                       10/7/2018   10/7/2018            Medical-              DEPARTMENT
    TRAVIS      222481001010       2                           No                   2654261
                                            8:20       13:00            condition             HARRIS
    WILLIAM
                                                                                              COUNTY
    ROBINSON,                                                                                 LA PORTE
                                       10/7/2018   10/7/2018            Medical-
    CODY D-     222788601010       4                           No                   2526067   POLICE
                                            3:24       23:00            condition
    WAYNE                                                                                     DEPARTMENT
                                                                                              SHERIFFS
    HALE,
                                       10/6/2018   10/7/2018            Medical-              DEPARTMENT
    JESSICA     222785001010      13                           No                   2737191
                                           20:00       23:00            condition             HARRIS
    RENEE
                                                                                              COUNTY
                                                                     

 
